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 5                            UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,                    )
                                                  )    NO.       CR-05-6019-WFN-4
 8                             Plaintiff,         )
                                                  )
 9          -vs-                                  )
                                                  )    ORDER
10   HAL A. IRELAND,                              )
                                                  )
11                             Defendant.         )
                                                  )
12
13         Pending before the Court is the Government’s Motion to Continue Pretrial Conference
14 in United States v. Hal Ireland, filed June 12, 2006 (Ct. Rec. 207). Defendant Ireland is
15 represented by Salvador Mendoza, Jr.; Assistant United States Attorney Robert Ellis
16 represents the Government.
17         The Court has reviewed the file and is fully informed. Accordingly,
18         IT IS ORDERED that:
19         1. The Government’s Motion to Continue the Pretrial Conference, Ct. Rec. 207, is
20 GRANTED.
21         2. The pretrial conference and motion hearing of June 15, 2006 in United States v. Hal
22 Ireland (05-6019-4) ONLY is STRICKEN and RESET to July 13, 2006, at 9:45 am, in
23 Yakima, Washington.
24         3. Defendant Ireland’s Motion to Dismiss and Motion to Sever are RESERVED to
25 the July 13, 2006 pretrial conference. The Government is requested to bring an ATF agent
26 to this hearing who can respond to the Court’s questions regarding discovery.


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 1           4. The Government’s response to the Motion to Dismiss and Motion to Sever shall
 2 be filed and served no later than June 26, 2006. Defendant Ireland’s reply, if any, shall be
 3 filed and served no later than July 3, 2006.
 4           5. The jury trial of July 24, 2006 is CONFIRMED. Trial filings, including
 5 motions in limine, trial briefs, requested voir dire, jury instructions, and witness and exhibit
 6 lists, shall be filed and served no later than July 14, 2006.
 7           The District Court Executive is directed to file this Order and provide copies to
 8 counsel.
 9           DATED this 13th day of June, 2006.
10
11                                                    s/ Wm. Fremming Nielsen
                                                         WM. FREMMING NIELSEN
12   06-13                                        SENIOR UNITED STATED DISTRICT JUDGE
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     ORDER - 2
